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                                                       WRITER’S DIRECT DIAL NO.: (952) 746–2139
                                                                 E–MAIL: BKENNY@HJLAWFIRM.COM




                                      April 27, 2023

The Honorable Donovan W. Frank                                              VIA E–FILE
United States District Court
316 N. Robert Street, Courtroom 7C
St. Paul, MN 55101

Re:     Computer Forensic Serv., Inc., et al. v. BraunHagey & Borden LLC
        Court File No. 22–cv–02665
        Our File No.: 32294.0001

Dear Judge Frank:

BraunHagey & Borden LLC (BHB) submits this letter to update Your Honor on BHB’s efforts
to agree on a suitable arbitrator to decide the parties’ dispute. After Judge Robert Blaeser
disclosed his prior significant interactions with Mark Lanterman, the principal of Plaintiff
Computer Forensic Services (CFS) and a key witness, the parties agreed on Judge Thomas
Fraser. But Judge Fraser then declined the engagement, stating he could not take on another
matter.

Because of Judge Fraser ’s unavailability and Judge Blaeser’s conflict, BHB respectfully
requests that the Court appoint Judge Kathleen Gearin as the arbitrator. Judge Gearin has more
than 20 years of experience as a judge, and has no conflicts precluding her from serving as a
neutral, unbiased arbitrator.

                                   R ELEVANT B ACKGROUND

Because BHB believes that Judge Blaeser’s significant interactions with Mr. Lanterman
preclude Judge Blaeser from serving as a neutral arbitrator, BHB attempted to discuss
alternative arbitrators with CFS. CFS refused, insisting on Judges Blaeser, Keyes, or Fraser.
BHB told CFS it could proceed before Judge Gearin or Judge Karen Klein, along with two
arbitrators it had previously proposed (Mark Bradford or Charles Ragan). CFS refused to
consider any of these alternatives.

After this Court’s April 20 order 1 directing the parties to “agree on Judge Blaeser, Judge Keyes,
Judge Fraser, or Judge Gearin,” or the Court would appoint Judge Blaeser, BHB agree to go
with Judge Fraser—an arbitrator that CFS first proposed. Unfortunately, Judge Fraser declined
the engagement.

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                           T HE C OURT S HOULD A PPOINT J UDGE G EARIN

BHB asks that the Court appoint Judge Gearin as neutral arbitrator for this dispute. Judge
Gearin has more than 20 years of judicial experience, and therefore satisfies CFS’s “strong
preference that an individual with judicial experience serve as arbitrator for this dispute.” (ECF
60 at 1.) Judge Gearin also has no conflicts that would prevent her from fairly deciding this
case. Indeed, CFS has never provided any justification, let alone a meritorious one, for opposing
her appointment.

Instead, CFS continues to demand BHB accept its proposed arbitrators, who have significant
prior involvement with Mr. Lanterman and CFS that make them unsuitable to serve as a neutral
here. See JAMS Ethics Guideline V.C (arbitrators “should not proceed with the process unless
all parties have acknowledged and waived any actual or potential conflict of interest.”); Minn.
Unif. Arb. Act § 572B.11(b) (barring arbitrator with a “known, existing, and substantial
relationship with a party” from serving).

Judge Blaeser informed the parties that he used Mr. Lanterman as an expert to speak to the civil
judges in Hennepin County when he was Chief Judge of the Civil Di vision. BHB cannot agree
to proceed with arbitration before an arbitrator who has had prior direct dealings with Mr.
Lanterman. In addition, Judge Blaeser’s prior use of Mr. Lanterman as an expert raise “an
impression of possible bias.” See Poletz for Laudine L. Ploetz, 1985 Tr. v. Morgan Stanley Smith
Barney LLC, 894 F.3d 894, 898 (8th Cir. 2018). And the impression of potential bias is
particularly severe here because Judge Blaeser has already concluded tha t Mr. Lanterman is an
expert in his field, but BHB contends that Mr. Lanterman’s views deviate from generally held
views in his industry.

Judge Keyes also has a “known, existing, and substantial relationship” with CFS that precludes
her from serving as a neutral arbiter. See Minn. Unif. Arb. Act § 572B.11(b). Judge Keyes has
designated Mr. Lanterman as an expert witness in another pending arbitration, and Mr.
Lanterman and CFS have retained Judge Keyes as both an arbitrator and mediator. 2 As with
Judge Blaeser, Judge Keyes’s conclusion that Mr. Lanterman is an expert raises an appearance
of bias regarding a key issue in this case. CFS and Mr. Lanterman’s patronage of Judge Keyes
also creates “an impression of possible bias.” Monster Energy Co. v. City Beverages, LLC, 940
F.3d 1130, 1135 (9th Cir. 2019).

All this, of course, has no bearing on Judges Blaeser and Keyes’s professionalism and integrity.
But this dispute should be resolved by a neutral with no prior connection. Judge Gearin meets
this standard, and CFS has never articulated any basis for opposing her appointment. This
matter should move forward with Judge Gearin as arbitrator.

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    See ECF 42 at 16–17.
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Thank you for your time and consideration. If this Court finds it appropriate, BHB is available
for a status conference.


                                                      Very truly yours,

                                                      HELLMUTH & JOHNSON



                                                      Brendan M. Kenny
                                                      Attorney at Law

BMK/
